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  AO 245B­CAED(Rev. 09/2011) Sheet 1 ­ Amended Judgment in a Criminal Case             (NOTE: Identify Changes with Asterisks*)



                                UNITED STATES DISTRICT COURT
                                                     Eastern District of California
                    UNITED STATES OF AMERICA                                        SECOND AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                    (For Offenses Committed On or After November 1, 1987)
                               v.
                       STEPHEN J. JOHNSON                                           Case Number: 1:08CR00224­012

    Date of Original Judgment:              July 21, 2011                           Defendant's Attorney: Jerald Brainin, Retained
    (Or Date of Last Amended Judgment)

   Reason for Amendment:
      Correction of Sentence on Remand (Fed R. Crim. P. 35(a)) Ninth Circuit          Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
      03/01/2016
      Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b))         Modification of Imposed Term of Imprisonment for Extraordinary and
                                                                                      Compelling Reasons (18 U.S.C. § 3582(c)(1))
      Correction of Sentence by Sentencing Court (Fed R. Crim. P. 35(c))              Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                      to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
      Correction of Sentence for Clerical Mistake (Fed R. Crim. P. 36)                Direct Motion to District Court Pursuant to 28 U.S.C. §2255,
                                                                                           18 U.S.C. §3559(c)(7),    Modification of Restitution Order
  THE DEFENDANT:
           pleaded guilty to count(s)   .
           pleaded nolo contendere to count(s)    which was accepted by the court.
           was found guilty on count(s) 20, 21, 22, 23, 24, 25, 26 after a plea of not guilty.

  ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                  Date Offense                                      Count
  Title & Section            Nature Of Offense
                                                                                                  Concluded                                         Number
                                           MAKING A FALSE, FICTITIOUS, OR FRAUDULENT
   18 U.S.C. §1001                                                                                                          06/03/2008              20 AND 21
                                           STATEMENT
                                                                                                                                                    22 through
   18 U.S.C. §1623                         PERJURY BEFORE A GRAND JURY                                                      06/12/2008
                                                                                                                                                    26

         The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
  Sentencing Reform Act of 1984.

           The defendant has been found not guilty on count(s)       and is discharged as to such count(s).
           Count (s)      dismissed on the motion of the United States.
           Indictment is to be dismissed by District Court on motion of the United States.
           Appeal rights given.                             Appeal rights waived.

          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
  change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
  fully paid. If ordered to pay restitution or fine, the defendant must notify the court and United States Attorney of material changes in
  economic circumstances.
                                                                                    7/5/2016
                                                                                    Date of Imposition of Judgment
                                                                                    /s/ Lawrence J. O'Neill
                                                                                    Signature of Judicial Officer
                                                                                    Lawrence J. O'Neill, United States District Judge
                                                                                    Name & Title of Judicial Officer
                                                                                    7/8/2016
                                                                                    Date
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  AO 245B­CAED(Rev. 09/2011) Sheet 4 ­ Probation
  DEFENDANT:STEPHEN J. JOHNSON                                                                                                         Page 2 of 5
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                                                                PROBATION
   The defendant is hereby sentenced to probation for a term of:
   5 years.

   The defendant shall not commit another federal, state or local crime.

   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
   substance. The defendant shall submit to one drug test within 15 days of release on probation and at least two (2) periodic drug tests
   thereafter, not to exceed four (4) drug tests per month.

           The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
           future substance abuse.

           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

           The defendant shall cooperate in the collection of DNA as directed by the probation officer.

           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
           et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
           she resides, works, is a student, or was convicted of qualifying offense.

           The defendant shall participate in an approved program for domestic violence.

   If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
   accordance with the Schedule of Payments sheet of this judgment.

   The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
   conditions on the attached page.
                                         STANDARD CONDITIONS OF SUPERVISION
   1.        The defendant shall not leave the judicial district without permission of the court or probation officer;
   2.        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3.        the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
   4.        the defendant shall support his or her dependents and meet other family responsibilities;
   5.        the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
             other acceptable reasons;
   6.        the defendant shall notify the probation officer ten days prior to any change in residence or employment;
   7.        the defendant shall refrain from excessive use of alcohol;
   8.        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9.        the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
             convicted of a felony unless granted permission to do so by the probation officer
   10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
             confiscation of any contraband observed in plain view by the probation officer;
   11.       the defendant shall notify the probation officer within seventy­two hours of being arrested or questioned by a law
             enforcement officer;
   12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
             without the permission of the court;
   13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
             defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
             notifications and to confirm the defendant’s compliance with such notification requirement.
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  AO 245B­CAED(Rev. 09/2011) Sheet 4 ­ Probation
  DEFENDANT:STEPHEN J. JOHNSON                                                                                                  Page 3 of 5
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                                            SPECIAL CONDITIONS OF PROBATION
   1.      The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
           any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
           suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
           any other residents that the premises may be subject to searches pursuant to this condition.
   2.      The defendant shall complete 1,400 hours of unpaid community service as directed by the probation officer. The defendant
           shall pay fees attendant to participation and placement in this program on a sliding scale as determined by the program.
           Community service shall be completed within the first three years of Probation.
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  AO 245B­CAED(Rev. 09/2011) Sheet 5 ­ Criminal Monetary Penalties
  DEFENDANT:STEPHEN J. JOHNSON                                                                                                       Page 4 of 5
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                                                CRIMINAL MONETARY PENALTIES

            The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                              Assessment                          Fine                 Restitution
             TOTALS                                                 $700
           The determination of restitution is deferred until         . An Amended Judgment in a Criminal Case (AO 245C) will be entered
           after such determination.

           The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
           victims must be paid before the United States is paid.

   Name of Payee                                              Total Loss*           Restitution Ordered Priority or Percentage
   Totals                                                     $____                      $____
           Restitution amount ordered pursuant to plea agreement $

           The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
           may be subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

           The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                 The interest requirement is waived for the                fine         restitution

                 The interest requirement for the            fine            restitution is modified as follows:


           If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
           through the Bureau of Prisons Inmate Financial Responsibility Program.

           If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
           shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
  on or after September 13, 1994, but before April 23, 1996.
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  AO 245B­CAED(Rev. 09/2011) Sheet 6 ­ Schedule of Payments
  DEFENDANT:STEPHEN J. JOHNSON                                                                                                        Page 5 of 5
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                                                        SCHEDULE OF PAYMENTS
           Payment of the total fine and other criminal monetary penalties shall be due as follows:

   A.              Lump sum payment of $        700.00        due immediately, balance due
                            Not later than      , or
                            in accordance              C,         D,         E,or          F below; or
   B.              Payment to begin immediately (may be combined with                    C,         D,    or    F below); or

   C.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $      over a period of          (e.g. months or
                   years), to commence    (e.g. 30 or 60 days) after the date of this judgment; or

   D.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                   years), to commence    (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

   E.              Payment during the term of supervised release/probation will commence within       (e.g. 30 or 60 days) after release
                   from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                   that time; or

   F.              Special instructions regarding the payment of crimimal monetary penalties:

   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
   due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
   Inmate Financial Responsibility Program, are made to the clerk of the court.

   The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

           Joint and Several

   Defendant and Co­Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
   and corresponding payee, if appropriate:

           The defendant shall pay the cost of prosecution.

           The defendant shall pay the following court cost(s):

           The defendant shall forfeit the defendant's interest in the following property to the United States:

   Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
   (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
